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                             IN THE UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF OHIO
                                            EASTERN DIVISION


Securities & Exchange                   :
Commission                              :       Case No. 2:14-CV-00396
                                        :
Plaintiff                               :
vs.                                     :       Judge Algenon Marbley
Professional Investment                 :       Magistrate Judge Norah McCann King
Management Inc., et al.                 :
Defendants                              :


                                                STATUS REPORT


            Pursuant to the Court’s Order dated 7-20-16, the Receiver is pleased to report that a Cashier’s

Check in the amount of $99,651.08 has been received by the Receiver from the Krivchenia I Family

Trust pursuant to the Receiver’s efforts to recover money which was mistakenly sent to the Estate of Dr.

Krivchenia I. The Receiver has deposited the money in the Receivership Operating account and

believes that the money should be available for proper distribution by July 22, 2016.

            As soon as the check clears the Receiver’s account, the Receiver will issue a check in the full

amount to Dr. Krivchenia II’s pension/profit sharing account based upon the Receiver’s investigation

and the evidence submitted at the hearing held on June 29, 2016. It is the Receiver’s belief that upon

distribution of the funds to Dr. Krivchenia II’s pension/profit sharing account, this matter will be

completely resolved.

                                                               Respectfully submitted,

                                                               /s/ David A. Kopech

                                                               David A. Kopech (#0012754)
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                                                        Kopech & O’Grady LLC
                                                        PO Box 1103
                                                        Worthington, OH 43085
                                                        (614) 306-8345
                                                        Attorney for Court-appointed
                                                        Receiver


                                   CERTIFICATE OF SERVICE

   The undersigned certifies that a true and accurate copy of the foregoing was filed electronically

   with the Clerk for the United States District Court for the Southern District of Ohio, Eastern

   Division, using the Court's CM/ECF system, which will send notification of such filing to the

   attorneys of record at the addresses they have provided to the Court on this20th day of July,

   2016.



                                                   /s/David A. Kopech
                                                   David A. Kopech
